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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF LOUISIANA

ALEXANDRIA DIVISION
DERECK D. TAYLOR, JR., CIVIL DOCKET NO. 1:20-CV-00215-P
Plaintiff
VERSUS JUDGE DRELL

HARD TIMES NEWSPAPER, £T MAGISTRATE JUDGE PEREZ-MONTES
Defendants
JUDGMENT
For the reasons contained in the Report and Recommendation of the
Magistrate Judge previously filed herein (ECF No. 21), noting the absence of
objections thereto, and concurring with the Magistrate Judge’s findings under the
applicable law;
IT IS ORDERED that Plaintiffs Complaint (ECF Nos. 1, 14) is DENIED and
DISMISSED WITH PREJUDICE under 28 U.S.C. §§ 1915(e)(2)(b) and 1915A.
The Clerk of Court is instructed to send a copy of this Judgment to the keeper
of the three strikes list in Tyler, Texas.

THUS DONE AND SIGNED at Alexandria, Louisiana, this 2s day of

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DEE D. DRELL ~
UNITED STATES DISTRICT JUDGE

September, 2020.

 
